                  Case 14-10979-CSS           Doc 1593-2        Filed 07/16/14   Page 1 of 40




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


----------------------------------------------------------- x
In re:                                                      :   Chapter 11
                                                            :
Energy Future Holdings, Inc., et al.,                       :   Case No. 14-10979 (CSS)
                                                            :
                           Debtors.                         :   (Jointly Administered)
                                                            :
----------------------------------------------------------- x

                                        CERTIFICATE OF SERVICE


                       I, Laura Davis Jones, hereby certify that on the 16th day of July, 2014, I caused a

copy of the following document(s) to be served on the individual(s) on the attached service

list(s), in the manner indicated thereon:

                       Notice of Strategic Proposal by NextEra Energy, Inc. and EFIH Second Lien
                       Group [including Exhibit A thereto]




                                                       /s/ Laura Davis Jones
                                                        Laura Davis Jones (Bar No. 2436)




DOCS_DE:192944.33 23731/001
             Case 14-10979-CSS     Doc 1593-2   Filed 07/16/14    Page 2 of 40




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             Case 14-10979-CSS     Doc 1593-2   Filed 07/16/14    Page 3 of 40




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DOCS_DE:192943.1 23731/001                  2
             Case 14-10979-CSS       Doc 1593-2    Filed 07/16/14    Page 4 of 40




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DOCS_DE:192943.1 23731/001                     3
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DOCS_DE:192943.1 23731/001                 5
             Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14    Page 7 of 40




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DOCS_DE:192943.1 23731/001                    6
             Case 14-10979-CSS       Doc 1593-2    Filed 07/16/14    Page 8 of 40




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DOCS_DE:192943.1 23731/001                     7
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DOCS_DE:192943.1 23731/001                   8
             Case 14-10979-CSS    Doc 1593-2   Filed 07/16/14     Page 10 of 40




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             Case 14-10979-CSS     Doc 1593-2      Filed 07/16/14    Page 11 of 40




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DOCS_DE:192943.1 23731/001                    10
             Case 14-10979-CSS   Doc 1593-2   Filed 07/16/14   Page 12 of 40




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DOCS_DE:192943.1 23731/001               11
             Case 14-10979-CSS       Doc 1593-2    Filed 07/16/14    Page 13 of 40




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DOCS_DE:192943.1 23731/001                    12
             Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14   Page 14 of 40




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DOCS_DE:192943.1 23731/001                    13
             Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14   Page 15 of 40




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DOCS_DE:192943.1 23731/001                    14
             Case 14-10979-CSS      Doc 1593-2     Filed 07/16/14    Page 16 of 40




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DOCS_DE:192943.1 23731/001                    15
             Case 14-10979-CSS      Doc 1593-2   Filed 07/16/14    Page 17 of 40




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DOCS_DE:192943.1 23731/001                  16
             Case 14-10979-CSS   Doc 1593-2   Filed 07/16/14    Page 18 of 40




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DOCS_DE:192943.1 23731/001               17
             Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14    Page 19 of 40




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DOCS_DE:192943.1 23731/001                    18
             Case 14-10979-CSS    Doc 1593-2   Filed 07/16/14   Page 20 of 40




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DOCS_DE:192943.1 23731/001                19
             Case 14-10979-CSS     Doc 1593-2   Filed 07/16/14   Page 21 of 40




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DOCS_DE:192943.1 23731/001                 20
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DOCS_DE:192943.1 23731/001                               21
             Case 14-10979-CSS   Doc 1593-2   Filed 07/16/14   Page 23 of 40




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DOCS_DE:192943.1 23731/001               22
          Case 14-10979-CSS         Doc 1593-2   Filed 07/16/14    Page 24 of 40




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          Case 14-10979-CSS       Doc 1593-2   Filed 07/16/14    Page 25 of 40




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          Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14     Page 26 of 40




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          Case 14-10979-CSS       Doc 1593-2   Filed 07/16/14    Page 27 of 40




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          Case 14-10979-CSS            Doc 1593-2   Filed 07/16/14   Page 28 of 40




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          Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14   Page 29 of 40




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          Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14    Page 31 of 40




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         Case 14-10979-CSS       Doc 1593-2   Filed 07/16/14    Page 34 of 40




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          Case 14-10979-CSS          Doc 1593-2   Filed 07/16/14    Page 35 of 40




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          Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14    Page 36 of 40




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          Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14   Page 37 of 40




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           Case 14-10979-CSS          Doc 1593-2   Filed 07/16/14   Page 38 of 40




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          Case 14-10979-CSS        Doc 1593-2   Filed 07/16/14         Page 39 of 40




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          Case 14-10979-CSS       Doc 1593-2   Filed 07/16/14   Page 40 of 40




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